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                               UNITED STATES DISTRICT COURT
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                            NORTHERN DISTRICT OF CALIFORNIA
10
                                       OAKLAND DIVISION
11
     IN RE COLLEGE ATHLETE NIL                    Case No. 4:20-cv-03919-CW
12   LITIGATION
                                                  [PROPOSED] ORDER GRANTING
13                                                PLAINTIFFS’ MOTION FOR FINAL
14                                                SETTLEMENT APPROVAL AS MODIFIED

15                                                Hon. Claudia Wilken

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              [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION FOR FINAL SETTLEMENT APPROVAL
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 1          This matter has come before the Court to determine whether there is any cause why this Court
 2   should not approve the Plaintiffs’ Fourth Amended Stipulation and Settlement Agreement with
 3   Defendants National Collegiate Athletic Association (“NCAA”), Atlantic Coast Conference (“ACC”),
 4   The Big Ten Conference, Inc. (“Big Ten”), The Big 12 Conference, Inc. (“Big 12”), Pac-12 Conference
 5   (“Pac-12”) and Southeastern Conference (“SEC”) (collectively, the “Defendants”). The Court, having
 6   reviewed Plaintiffs’ Motion for Final Settlement Approval and Omnibus Response to Objections (ECF
 7   No. 717, “Motion”), all subsequent submissions by the parties, including the Supplemental Submission in
 8   Support of Final Approval of Class Action Settlement (ECF No. 958), the Fourth Amended Stipulation
 9   and Settlement Agreement (ECF No. 958-1, “Fourth Amended Settlement Agreement” or “Settlement”),
10   the pleadings and other papers on file in this action, including the valid and timely objections to the
11   Settlement and all other briefing submitted by the objectors with the Court’s leave, the statements of
12   counsel and the parties, and all statements made at the final approval hearing held on April 7, 2025, hereby
13   finds that the Fourth Amended Settlement Agreement should be approved. Accordingly, the Court enters
14   this Order of Final Approval.
15          IT IS HEREBY ORDERED, ADJUDGED, AND DECREED THAT:
16           1.     The Court has jurisdiction over the subject matter of this litigation, and all actions within
17   this litigation (collectively, the “Action”) and over the parties to the Fourth Amended Settlement
18   Agreement, including all members of the Settlement Classes, as defined below, and the Defendants.
19           2.     For purposes of this Order, except as otherwise set forth herein, the Court incorporates
20   the definitions contained in the Fourth Amended Settlement Agreement. See ECF No. 958-1. The
21   Court hereby finally approves and confirms the Settlement set forth in the Fourth Amended Settlement
22   Agreement, and finds that said Settlement is, in all respects, fair, reasonable, and adequate to the
23   Settlement Classes pursuant to Rule 23 of the Federal Rules of Civil Procedure, including with respect
24   to each of the factors enumerated in Rule 23(e)(2), and orders that it be consummated pursuant to its
25   terms and conditions.
26          3.      Pursuant to Rule 23 of the Federal Rules of Civil Procedure, the Court certifies, for
27   purposes of effectuating this Settlement, a Settlement Class as follows, hereinafter referred to as the
28   “Injunctive Relief Settlement Class”:
                                                     -1-
                  [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION FOR FINAL SETTLEMENT APPROVAL
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 1                  All student-athletes who compete on, competed on, or will compete on a
                    Division I athletic team at any time between June 15, 2020 through the end
 2                  of the Injunctive Relief Settlement Term.1 This Class excludes the
 3                  officers, directors, and employees of Defendants. This Class also excludes
                    all judicial officers presiding over this action and their immediate family
 4                  members and staff.

 5          4.      Pursuant to Federal Rule of Civil Procedure 23(g), the Court confirms that Grant House,

 6   DeWayne Carter, Nya Harrison, Sedona Prince, and Nicholas Solomon are appointed to serve as the

 7   Class Representatives for the Injunctive Relief Settlement Class.

 8          5.      Pursuant to Rule 23 of the Federal Rules of Civil Procedure, the Court also certifies, for

 9   purposes of effectuating this Settlement, a Settlement Class as follows, hereinafter referred to as the

10   “Football and Men’s Basketball Class”:
                   All student-athletes who have received or will receive full GIA
11                 scholarships and compete on, competed on, or will compete on a Division
                   I men’s basketball team or an FBS football team, at a college or university
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                   that is a member of one of the Power Five Conferences (including Notre
13                 Dame), and who have been or will be declared initially eligible for
                   competition in Division I at any time from June 15, 2016 through
14                 September 15, 2024. This Class excludes the officers, directors, and
                   employees of Defendants. This Class also excludes all judicial officers
15                 presiding over this action and their immediate family members and staff.
16          6.      Pursuant to Federal Rule of Civil Procedure 23(g), the Court confirms that Tymir Oliver
17   and DeWayne Carter are appointed to serve as the Class Representatives for the Football and Men’s
18   Basketball Class.
19          7.      Pursuant to Rule 23 of the Federal Rules of Civil Procedure, the Court also certifies, for
20   purposes of effectuating this Settlement, a Settlement Class as follows, hereinafter referred to as the
21   “Women’s Basketball Class”:
                 All student-athletes who have received or will receive full GIA
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                 scholarships and compete on, competed on, or will compete on a Division
23               I women’s basketball team at a college or university that is a member of
                 one the Power Five Conferences (including Notre Dame), and who have
24               been or will be declared initially eligible for competition in Division I at
                 any time from June 15, 2016 through September 15, 2024. This Class
25               excludes the officers, directors, and employees of Defendants. This Class
                 also excludes all judicial officers presiding over this action and their
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                 immediate family members and staff.
27
        1
         The Injunctive Relief Settlement Term is the ten (10) Academic Years from the date of Final
28   Approval of the Settlement.
                                                     -2-
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 1          8.      Pursuant to Federal Rule of Civil Procedure 23(g), the Court confirms that Sedona Prince
 2   is appointed to serve as the Class Representative for the Women’s Basketball Class.
 3          9.      Pursuant to Rule 23 of the Federal Rules of Civil Procedure, the Court also certifies, for
 4   purposes of effectuating this Settlement, a Settlement Class as follows, hereinafter referred to as the
 5   “Additional Sports Class”:
                   Excluding members of the Football and Men’s Basketball Class and
 6                 members of the Women’s Basketball Class, all student-athletes who
 7                 compete on, competed on, or will compete on a Division I athletic team
                   and who have been or will be declared initially eligible for competition in
 8                 Division I at any time from June 15, 2016 through September 15, 2024.
                   This Class excludes the officers, directors, and employees of Defendants.
 9                 This Class also excludes all judicial officers presiding over this action and
                   their immediate family members and staff.
10
            10.     Pursuant to Federal Rule of Civil Procedure 23(g), the Court confirms that Grant House,
11
     Nya Harrison, and Nicholas Solomon are appointed to serve as the Class Representatives for the
12
     Additional Sports Class.
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            11.     The Court will refer to the Injunctive Relief Settlement Class, Football and Men’s
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     Basketball Class, the Women’s Basketball Class, and the Additional Sports Class collectively as the
15
     “Settlement Classes.” The Court will refer to the Football and Men’s Basketball Class, the Women’s
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     Basketball Class, and the Additional Sports Class collectively as the “Damages Settlement Classes.”
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            12.     The Court finds the prerequisites to a class action under Federal Rule of Civil Procedure
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     23(a) have been satisfied for settlement purposes only by the Settlement Classes in that:
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                        (a) there are at least tens of thousands of geographically dispersed members of the
20
                            Settlement Classes, making joinder of all members impracticable;
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                        (b) there are questions of law and fact common to the Settlement Classes which
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                            predominate over individual issues;
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                        (c) the claims or defenses of the Class Representatives are typical of the claims or
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                            defenses of the Settlement Classes;
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                        (d) the Class Representatives have fairly and adequately protected the interests of the
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                            Settlement Classes and will continue to do so, and have retained counsel
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                  [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION FOR FINAL SETTLEMENT APPROVAL
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 1                           experienced in antitrust class action litigation who have, and will continue

 2                           to, adequately represent the Settlement Classes.

 3            13.     The Court further finds that this Action may be maintained as a class action under
 4   Federal Rule of Civil Procedure 23(b)(2), for settlement purposes only, because: Defendants have acted
 5   on grounds that apply generally to the Injunctive Relief Settlement Class, so that final injunctive and
 6   corresponding declaratory relief is appropriate respecting the Injunctive Relief Settlement Class as a
 7   whole.
 8            14.     The Court further finds that this Action may be maintained as a class action under
 9   Federal Rule of Civil Procedure 23(b)(3), for settlement purposes only, because: (i) questions of fact and
10   law common to members of the Damages Settlement Classes predominate over any questions affecting
11   only the claims of individual members; and (ii) a class action is superior to other available methods for
12   the fair and efficient adjudication of this controversy.
13            15.     Pursuant to Federal Rule of Civil Procedure 23(g), the Court hereby confirms that Hagens
14   Berman Sobol Shapiro, LLP and Winston & Strawn LLP are appointed as Class Counsel for the
15   Settlement Classes.
16            16.     Plaintiffs’ notice of the Settlement to the Settlement Classes was the best notice
17   practicable under the circumstances. The notice satisfied due process, provided adequate information to
18   the Settlement Classes of all matters relating to the Settlement, and satisfied the requirements of Federal
19   Rules of Civil Procedure 23(c)(2) and (e)(1).
20            17.     The Court has reviewed and considered the valid and timely objections to the Settlement
21   and finds them to be without merit.
22            18.     Certain members of the Settlement Classes timely and validly requested exclusion from
23   the Damages Settlement Classes, and therefore they are excluded from the Damages Settlement Classes.
24   These persons and entities are reflected in the attached Exhibit A to this order. Such persons and
25   entities are not included in or bound by this Order as it relates to the Settlement for which they opted
26   out. Such persons and entities are not entitled to any recovery of the settlement proceeds obtained
27   through this Settlement.
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                    [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION FOR FINAL SETTLEMENT APPROVAL
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 1          19.     The Court orders that the injunction contemplated by Appendix A to the Fourth Amended
 2   Settlement Agreement, the Second Amended Injunctive Relief Settlement, be entered into pursuant to its
 3   terms and conditions.
 4          20.     Without affecting the finality of this Order in any way, this Court hereby retains
 5   continuing, exclusive jurisdiction over the Settlement and the Fourth Amended Settlement Agreement,
 6   including:
 7                     (a) implementation and execution of the Settlement and Fourth Amended Settlement
 8                           Agreement;
 9                     (b) during the Injunctive Relief Settlement Term, review, consideration, and
10                           disposition of any objections to continuation of the Second Amended Injunctive
11                           Relief Settlement filed following the notice contemplated by paragraph 14 of the
12                           Fourth Amended Settlement Agreement;
13                     (c) review, consideration, and disposition of any claims filed by Class Counsel for
14                           enforcement, or violations, of the Fourth Amended Settlement Agreement,
15                           including, but not limited to, the anti-collusion provisions of Article 5, Section 1
16                           of the Second Amended Injunctive Relief Settlement;
17                     (d) disposition of the Gross Settlement Fund and distribution to members of the
18                           Settlement Classes pursuant to further orders of this Court;
19                     (e) determining service awards and attorneys’ fees, costs, expenses, and interest;
20                     (f) the Action until Final Judgment contemplated hereby has become effective and
21                           each and every act agreed to be performed by the parties all have been performed
22                           pursuant to the Fourth Amended Settlement Agreement;
23                     (g) hearing and ruling on any matters relating to the plan of allocation of settlement
24                           proceeds;
25                     (h) all parties to the Action, Releasors, and Releasees, for the purpose of enforcing
26                           and administering the Fourth Amended Settlement Agreement and the mutual
27                           releases and other documents contemplated by, or executed in connection with,
28                           the Fourth Amended Settlement Agreement; and
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 1                      (i) any other proceedings concerning the administration, interpretation,
 2                          consummation, and enforcement of this settlement.
 3          21.     The Court finds, pursuant to Rules 54(a) and (b) of the Federal Rules of Civil Procedure,
 4   that Final Judgments of Dismissal with prejudice as to Defendants (“Judgment”) should be entered
 5   forthwith and further finds that there is no just reason for delay in the entry of the Judgment, as a Final
 6   Judgment, in accordance with the Fourth Amended Settlement Agreement.
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 8          IT IS SO ORDERED.

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     DATED: June 6, 2025
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                                                   HONORABLE CLAUDIA WILKEN
12                                                 UNITED STATES DISTRICT JUDGE
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                  [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION FOR FINAL SETTLEMENT APPROVAL
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